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           ' Kari M. Myron - State Bar No. 158592
             LAW OFFICE OF KARI M. MYRON
             22972 Mill Creek Drive                                           ,
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             Laguna Hills, CA 92653                                           [                 or.;
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             (949) 7 16-0600
             (949) 716-0606 (fax)
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             kmyron@myron-law.com
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               Attorney for Plaintiff Steven Benhayon
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                                     UNITED STATES DISTRICT COURT!
                                    CENTRAL DISTRICT OF CALIFORNIA

               In re                                            Case No. CV08-06090 FMC (AGRx)
               STEVEN BENHAYON, an individual,                  FIRST AMENDED COMPLAINT
                                   Plaintiff,                   FOR DAMAGES AND REQUEST
                                                                FOR A JURY TRIAL:
                       VS.
                                                                1.    Violation of the .Em loyee
               ROYAL BANK OF CANADA, a                          Retirement Income Secur~tygct of
                                                                1974 ("ERISA")
                                                                2.     Violation of the Age
                                                                Discrimination in Employment Act of
                                                                1967 ("ADEA")
                                                                3. Tortious Termination in Violation
                                                                of Public Policy


                                            Defendants.
                                                            I
                       Plaintiff, Steven Benhayon, complains and alleges as follows:
                       PARTIES
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                       1.    STEVENBENHAYON("Benhayon" or 'T1aintiff'), the plaintiff in this
               action is, and was at all times relevant, a resident of Santa Barbara County and a
       citizen of the State of California. He is, and was at all times relevant, over forty
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    28 years of age.
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                                            FIRST AMENDED COMPLAINT


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               2.     Plaintiff is informed and believes, and thereon alleges, that The
        ROYAL BANK OF CANADA, a defendant in this action, is a Canadian company,
         business form unknown, with its corporate headquarters in Toronto, Canada.
               3.     Plaintiff is informed and believes, and thereon alleges, that RBC
         WEALTH MANAGEMENT COMPANY, formerly RBC DAINRAUSCHER, INC.
         ("RBC Wealth Management"), a defendant in this action, is a wholly owned
         subsidiary of the Royal Bank Of Canada, business form unknown, with its
         headquarters in Minneapolis, Minnesota.
               4.     Plaintiff is informed and believes, and thereon alleges, that THE
         ROYAL BANK OF CANADA US WEALTH ACCUMULATION PLAN (the
         "Plan"), formerly known as the RBC Dain Rauscher Wealth Accumulation Plan,is
         an employee welfare benefit plan regulated by the Employee Retirement Income
         SecurityAct of 1974,as amended ("ERISA"). Plaintiff, aparticipant and beneficiary
         of the Plan, which was established by the Royal Bank of Canada, is entitled to
        benefits under the Plan. A true and correct copy of the Wealth Accumulation Plan
         2003 Plan Year is attached hereto as EXHIBIT A and incorporated herein by
        reference. husuant to 29 U.S.C.    5 1132(d)an employee benefit plan may be sued
        as an entity under ERISA.
               5.     Defendants, DOES 1 through 20, inclusive, are fictitiously named
        defendants, as Plaintiff is unaware of their true names or capacities. When such true
        names or capacities are discovered by Plaintiff he will seek leave to amend this
        Complaint to allege the true names and capacities of the fictitiously named
        defendants.
               6.     Plaintiff is informed and believes, and thereon alleges, that each
        defendant sued under such fictitious names is in some manner responsible for the
        wrongs and damages as alleged below, and is so acting was functioning as the agent,
        sewant, partner, and employee of the co-defendants, and in doing the actions
        mentioned below was acting within the course and scope of his or her authority as
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                                    FIRST AMENDED COMPLAINT
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        such agent, senrant, partner, and employee with the permission and consent of tht
        co-defendants.
                                 JURISDICTION AND VENUE
               7.    This action is brought for the purpose of recovering benefits duc
        Plaintiff under the terms of the Plan, enforcing Plaintiffs rights under the terms ol
        the Plan and to clarify and enforce Plaintiffs past, present and future rights tc
        benefits under the Plan; and, to recover damages for wrongfit1 termination 01
        Plaintiffs employment in violation of ERISA, the Age Discrimination ir
        Employment Act of 1967 ("ADEA"), and public policy.
               8.    This Court has subject matter jurisdiction over the matters set forth ir
        this Complaint under, and by virtue of, 29 U.S.C. §§ 1132(a), (d), (e), and ( f ) as il
        involves a claim by Plaintiff for employee benefits under an employee benefit plar
        regulated and governed by ERISA. Jurisdiction is predicated under these code
        sections as well as 28 U.S.C. § 1331, as this action involves a federal question.
              9.     This Court has subject matter jurisdiction over the matters set forth ir
        this Complaint under, and by virtue of, 29 U.S.C. 5 626(c), as it involves a claim bq
        Plaintiff for damages he suffered as a result of Defendants' alleged violation of the
        ADEA. Jurisdiction is predicated under these code sections as well as 28 U.S.C.       4
        1331, as this action involves a federal question.
               10.   Further, pursuant to 28 U.S.C. $ 1367(a), federal courts have
        supplemental jurisdiction to adjudicate state law claims that are transactionally
        related to the federal claims. Plaintiff asserts herein a claim for damages resulting
        from the tortious termination of Plaintiffs employment in violation ofpublicpolicy.
        This cause of action is transactionally related to the federal claims alleged herein.
              11.    Plaintiff has exhausted all administrativeremedies required by both the
        terms of the Plan and 29 U.S.C.   5 626(d).
              12.    On or about November 12, 2007, Plaintiff filed a claim demanding
        payment of his rightful distribution under the Plan in accordance with Section 7 of
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                                     FIRST AMENDED COMPLAINT
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        the Plan as amended. On or about December 11,2007 Defendants denied the claim.
        A request for a review of the denied claim was made on or about February 6,2008
        pursuant to Section 7.4 of the Plan. On or about April 9,2008 Defendants affirmed
        the denial of the claim.
                13.     On or about May 20,2008, Plaintiff filed a complaint of discrimination
        with the California Department of Fair Employment and Housing and the Equal
        Employment Opportunity Commission. On or about May 22,2008 the Department
        of Fair Employment and Housing issued Plaintiff a right to sue notice. On or about
        September 16, 2008, the Equal Employment Opportunity Commission issued
        Plaintiff a right to sue notice.
                14.     Defendants can be found in this judicial district. Therefore, pursuant
        to 29 U.S.C.    3   1132(e)(2) venue is proper in this district.
                                      FIRST CAUSE OF ACTION
          BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY
                                               ACT OF 1974
                                             (All Defendants)
                15.     Plaintiff repeats and realleges by reference each and every allegation
        contained in Paragraphs 1 through 14 and incorporates the same as though fully set
        forth herein.
                16.     At all times relevant, Plaintiff was employed by RBC Wealth
        Management and was a covered participant under the terms and conditions of the
        Plan.
                17.     Plaintiffwas hired by RBC Wealth Management on November 1,1990.
                18.     On September 17, 2007, Plaintiffs employment was wrongfully
        terminated without cause or prior notice. At all material times hereto, Plaintiff
        satisfactorily performed his job duties and responsibilities as expected by
        Defendants.
                19.     In fewer than 120 days following termination, Plaintiff was due a
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                                         FIRST AMENDED COMPLAINT
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            distribution under the Plan exceeding $300,000.
                   20.      Under the provisions of the Plan, Plaintiff is entitled to a distribution
            of plan benefits.
                   21.      Defendants wrongfully breached the Plan and denied Plaintiff the
            distribution he was entitled to under the Plan, all in violation of ERISA.
                   22.      Plaintiff is informed and believes, and thereon alleges, that Defendants
            wrongfully denied his distribution under the Plan and wrongfully terminated his
        I   employment to avoid paying Plaintiff benefits he was due under the Plan.
                   23.      Following the Defendants' denial of benefits under the Plan, Plaintiff
            exhausted all administrativeremedies required under ERISA and any fhrther attempt
            to resolve this matter would be futile. Plaintiff has performed all duties and
            obligations on Plaintiffs part to be performed under the Plan.
                   24.      As a proximate result of the aforementioned wrongful conduct of the
            Defendants, and each of them, Plaintiff has damages for loss of benefits due him
            under the terms of the Plan, loss of wages, loss of employment benefits, and other
            economic losses ha total sum to be shown at the time of trial.
                   25.      As a further direct and proximate result of Defendants' wrongful
            conduct in violation of ERISA, Plaintiff has been required to incur attorneys' costs
            and fees. Pursuant to 29 U.S.C. 5 1132(g)(l), Plaintiff is entitled to have such fees
            and costs paid by Defendants.
                                       SECOND CAUSE OF ACTION
            VIOLATION OF THE AGE DISCRLMINATION IN EMPLOYMENT ACT
                                              OF 1967 ("ADEA'')
                 (Defendants Royal Bank of Canada and RBC Wealth Management
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                               Company, formerly RBC Dain Rauscher, Inc.)
                  26.       Plaintiff repeats and realleges by reference each and every allegation
            contained in Paragraphs 1 through 25 and incorporates the same as though fully set
            forth herein.
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                                           FIRST AMENDED COMPLAINT
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              27.       The Age Discrimination in Employment Act ("ADEA"), 29 U.S.C. $5
        621-634, prohibits discrimination against employees who are at least forty years 01
        age. Pursuant to 29 U.S.C. $ 630(b), defendants, Royal Bank of Canada and RBC
        Wealth Management, are "employers" under the ADEA.
              28.       On September 17,2007, after more than sixteen years of satisfactory
        job performance, Plaintiffs employment was terminated without cause and without
        notice. Plaintiff is informed and believes, and thereon alleges, that this disparate
        treatment which he was subjected to by Defendants was due to his being over forty
        years of age.
              29.    Plaintiff is informed and believes, and thereon alleges, that Defendants,
        Royal Bank of Canada and RBC Wealth Management, wrongfully terminated
        Plaintiffs employment because of his age and to prevent him from receiving the
        distribution he was entitled to under the Plan.
              30.    Plaintiff is informed and believes, and thereon alleges, that Defendants
        terminated several employees over the age of forty immediately prior to them
        vesting in the Plan. Plaintiff alleges that Defendants' employment practice of
        terminating employees immediately prior to vesting in the Plan, in an attempt to
        prevent employees from receiving a distribution under the Plan, creates a disparate
        impact on employees over the age of forty and is a willful violation of the ADEA.
              3 1.   As a result of Defendants' actions, Plaintiff has suffered irreparable
        injuries, including but not limited to lost distributions under the Plan, lost wages,
        lost pension benefits, lost insurance, lost vacation benefits, lost sick leave and other
        :conomic losses.
              32.    As a result of Defendants' willful violation of the ADEA, Plaintiff is
        :ntitled to liquidated damages in an additional amount equal to his lost wages
        ~ursuantto 29 U.S.C. $216(b), made applicable to ADEA cases by 29 U.S.C.              8
        526(b).
              33.    Plaintiff is also entitled to an award of reasonable attorney fees
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                                      FIRST AMENDED COMPLAINT
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         pursuant to 29 U.S.C. $ 216(b), made applicable to ADEA cases by 29 U.S.C. $
         626(b).
                                      THIRD CAUSE OF ACTION
            TORTIOUS TERMINATION IN VIOLATION OF PUBLIC POLICY
              (Defendants Royal Bank of Canada and RBC Wealth Management
                            Company, formerly RBC Dain Rauscher, Inc.)
               34.       Plaintiff repeats and realleges by reference each and every allegation
         contained in Paragraphs 1 through 33 and incorporates the same as though fully set
         forth herein.
               35.       Defendants, Royal Bank of Canada and RBC Wealth Management, are
         employers under the provisions of the Fair Employment and Housing Act,
         Government Code $ 12926(d).
               36.       Plaintiffs employment was wrongfblly terminated by Defendants
        Royal Bank of Canada and RBC Wealth Management, without notice and without
        cause immediately prior to Plaintiff vesting in the Plan.
               37.       Plaintiffs termination of employment by Defendants violated
         fundamental policies which are beneficial for the public at large and that are
        embodied in state and federal statutes.
               38.       Plaintiff is informed and believes, and thereon alleges, that his
        employment was terminated to prevent him from obtaining the benefits due him
        under the Plan. There exists in California a fundamental, substantial and well-
        established public policy, as embodied in California Labor Code $ 201, which
        mandates prompt payment of employee compensation.
               39.       Plaintiff is further informed and believes, and thereon alleges, that hi?
        employment was terminated due to his being over forty years of age. There exists
        in California a fundamental, substantial and well-established public policy, as
        embodied in the California Fair Employment and Housing Act, California
        Government Code 8 12920, which prohibits discrimination against older workers.
                                                     7
                                        FIRST AMENDED COMPLAINT
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                40.   There also exists in California a fundamental, substantial and well-
         established national public policy as embodied in the ADEA, 29 U.S.C. § 621,
         which prohibits discrimination against older workers.
                41.   Plaintiffs status as an employee, over the age of forty, is of a kind that
         the aforementioned public policies are intended to protect.
                42.   Defendants terminated Plaintiffs employment in violation of the
         aforementioned public policies and denied Plaintiff the protection of these
         fundamental, substantial and well-established public policies.           Defendant's
         motivation in terminating Plaintiffs employment was to thwart these public
         policies.
                43.   As a- direct, foreseeable, and proximate result of Defendants' conduct,
         Plaintiff has lost income, employment, benefits, and career opportunities, and has
         suffered other economic loss in an amount that exceeds $300,000, the precise
         amount of which will be proved at trial.
                44.   Defendants committed the acts alleged herein maliciously, fraudulently,
         and oppressively, and with the wrongful intention of injuring Plaintiff, and acted
         with an improper and evil motive amounting to malice. Alternatively, Defendants'
         despicable conduct was carried out in conscious disregard of Plaintiffs rights. As
         a result of Defendants' conduct, Plaintiff is entitled to recover punitive damages.
                WHEREFORE, Plaintiff prays for judgment against Defendants, and each
         of them, as follows:
                1.    For compensatory damages, including lost distributionsunder the Plan,
         lost wages and lost employment benefits according to proof;
                2.    For liquidated damages on the second cause of action;
                3.    For punitive damages on the first and third cause of action;
                4.    For an award of interest, including prejudgment interest, at the legal
        rate;
                5.    For an award of attorney fees;
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                                     FIRST AMENDED COMPLANT
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                 6.   For costs of suit incurred; and
                 7.   For such other and further relief as this Court deems just and proper.
            DATED: October 20,2008       LAW OFFICE OF KARI M. MYRON


                                            ORIGINAL SIGNED BY KARl M. MYRON
                                         By:
                                         Kari M. Myron
                                         Attorney for Plaintiff Steven Benhayon


            PLAINTIFF DEMANDS A JURY TRIAL




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                                    FIRST AMENDED COMPLAINT
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                  Wealth Accumulation Plan

                          .    2003 Plan Year


                       SUMMARY
                             DESCRIPTION
                                      AND PROSPECTUS




                        Royal Bank of Canada


                              This document constitutes part of
                               a prospectus covering securities
                               that have been registered under
                                  The Securities Act of 1933
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          that participant with respect to the Plan year. Gross cash compensation is generally defined
  '
          under the plan to include base salary, bonuses, and cash commissions earned by a participant
          with respect to the Plan year. Elections must be made no later than December 31 of the year
          immediately preceding the year in which such Deferrable Compensation will be earned or, with
          respect to employees who are fust eligible to particPate in the Plan during a given year, such
          employees must make an election within 30 days of initial employment, with such election to be
          effective with respect to Deferrable Cornpeasation as of the fust day of the month following the
          date of such election In connection with designating an employee as being eligible to participate
          in the Plan, the Committee may designate a percentage of such employee's Deferrable
          Compensation that must be deferred (the "Mandatory Defwred Compensation"). The Committee
          may also designate all or a portion of such other compensation that must be defemd by
          participants (the "Special Deferred Compensation"). A participant may also elect voluntarily to
          defer a percentage of his or her Deferrable Compensation that the participant would otherwise
          earn with respect to services to be rendered in the next succeeding year (the "Voluntary Deferred
          Compensation")). A participant's total deferral opportunity with respect to any Plan year shall be
          the sum of his or her Mandatory Deferred Compensation, Special Deferred Compensation, and
          Voluntary Deferred Compensation (the "Deferred Amounts").
                 The Committee shall from time to time establish the maximum percentage of DefembIe
          Compensation that a participant may elect under the Plan. For the 2003 Plan year, the
          Committee has established 30% as the maximum percentage for participants who are not covered
          by any requirements for Mandatoly Deferred Compensation. The maximum percentage for all
          other participants will vary as designated by b Committee.

                 Upon electing to participate in the Plan, a participant shall choose the form of the
          deemed investment of his or her Deferred Amounts by electing to credit such deferrals for any
          Plan year to one or more of the following:

                            (1)     his or her "Stock Account" (the bookkeeping account in which a
                1   participant's deemed investments in the common shares of RBC (the "Common Sha~s")),
                    are credited);

                            (2)    2)s OF k e ~"ktteFese A e e o d ' (the booklreeping anxrmrt in which a
                    participant's deemed investments are credited to earn a rate of return (the "Interest
                    Rate"), as determined by the Committee); unless otherwise determined by the
                    Committee, as of March 3 I, 2003 the Interest Rate shall be the 90-day LIBOR rate (reset
                    quarterly) plus 0.5%;

                           (3)    his or her "Mutual Fund Account(s)" (the bookkeeping account(s) in
      1             which a participant's deemed investments in mutual funds, selected by the Committee
                    f&m time to time, are credited);
      I
      !                    (4)    such other accounts as the Committee may from time to time establish; or

                          (5)     a combination of the accounts described above.
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                  Any election by a participant to have his or h a Deferred A m 0 ~ t Scndited to his or her
          Stock Account shall be irrevocable for a l l time thereafter. Any investment election by a
     :    partic3pant regarding his or her Deferred Amounts may be banged with q x c t to future
          deferrals in accordance with lhe rules established by the Committee. If a participant fails to
          make an investment election, such participant's D e f d Amounts will be credited to his or her
 ,        Interest Account
                  Upon electing to participate in ihe Plan, a participant will also make an irrevocable
          election with respect to the timing of the distn'bution of amounts credited to such participant's
          accounts. As described more fully in ' W b u l i o n s " below, a participant may elect to have such
          distribution made either (i) upon the earlier of a specified date (which date must fall on the last
          day of a calendar quarter) or the date of his or her "Separation" (as defied below) if prior to
          such specified date, or (ii) upon such Separatbn. If a participant fails.to make a distribution
          election, his or h a accounts will be distributed in two roughly equal annual installments in each
          of the two Plan years immediately following his or h a Separation. As used in the Plan.
          "Separation" meam the date of a Plan participant's separation of employment from the
          Company, a participating subsidiary or an RBC subsidiary (other than due to death, disability or
          term'htion for cause), including "Approved Retirement" (as defined below under "Vesting").

 i               Deferred Compensation Accounts Accounts for Plan pdcipants will be established for
          bookkeeping purposes only and will not be considered as, or as evidence of the creation of, a
          rmst fund or a transfer or other segregation of assets for the benefit of the Plan participants or
          their beneficiaries. The accounts will be composed of a Stock Account, a Matching Stock

1/        Account, a Mandatory Stock Account, an Interest Account, one or more Mutual Fund Accounts,
          a Cash Acmum and a Matching Cash Account, and such other accounts a the Committee may
          from lime to time authorize. Such accounts shall be established and credited with the appropriate
          amounts as provided in the Plan. Crediting and pricing of participants' accounts shall occur on or
          about each payroll date.

Is              Srock Account. For any Plan year, in connection with a participant's election to have a


1        @od of his or her D e f d Amounts credited to his or her Stock Account, such participant's
         Stock Account shall be deemed to have been allocated the number of Common Shares, resulting
         h m dividing such p.on        of the Deferred Amounts allocated to the Stock Account by the
         reported closing price per Common Share on the New York Stock Exchange as reported on or
         about each payroll date (the "Payroll Date Price")).
                  Interest Accounl. If a participant elects to have a portion of his or her Deferred Amounts
           for any Plan year credited to his or her Interest Account, then such account shall be increesed by
         i the amount of deferred compensation so credited on or about each payroll date.


                ~ t t u o Fl d Account. If a participant elects to have a portion of him a her Deferred
         Amoudtr for any Plan year credited to a Mutual Fund Account, then on or about each payroll
         dare his or her appropriate Mutual Fund Account shall be deemed to have been allocated the
         numbet of units (including fractional units) of a "Mutual Fund" (as defined below) qua1 to the
         portion of his or her Defened Amounts allocated to the Mutual Fund Account divided by the
         a p p q h closing price, as determined by the Committee, on or about each payroll date.
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       "Mutual Fund" is defined under the Plan as the mutual fund investment vehicles selected from
       time to time by the Committee in its sole and absolute discretion.

               Matching SYock Account. The Committee shall establish prior to the beginning of each
       Plan year the extent to which Deferred Amounts are eligible for Matching Contributions by the
       Company. Matching Contributions, in general, will vary with certain performance-based
       measures of the Company, or such other performance factors as determined by the Committee.
       If a participant becomes entitled to a Matching Contribution, then, after the end of the Plan year
       and at such time as the Committee shall determine, his or her Matching Stock Account will be
       deemed to have been allocated the number of Common Shares, resulting from dividing the
       amount of the Employer Match by the Payroll Date Price. Matching Contributions will credited
       to participants' Stock Accounts and shall be irrevocable for all time thereafter (subject to the
       vesting requirements and forfeiture provisions discussed below).
               Credifng of Investment Earnings. At such times as RBC declares dividends on its
       Common Shares. a determination will be made as to the number of Common Shares wbich are
       credited to a participant's Stock Account, Matching Stock Account and Mandato~y Stock
       Account, the record date for such dividend, and an amount equal to such number of Common
       Shares multiplied by the declared dividend per Common Share in U.S. dollars (such dividend 10
       be calculated without taking into account any and all Canadian withholding taxes to which such
       dividend might be subject. if actually paid) will be credited, on the payment date, initially to such
       participant's Cash Account and Matching Cash Account (if dividends are paid in cash) or such
       participant's Stock Account, Matching Stock Account and Mandatory Stock Account (if
       dividends are declared in Common Shares). Thereafter, all funds credited to a participant's Cash
       Account and Matching Cash Account as a result of cash dividends, shall be deemed to have been
       used to purchase Common Shares on dates determined by the Committee. The number of
       additional Common Shares purchased shall be equal to the number of Common Shares, derived
       by dividing t h total amount of cash credited to the Participant's Cash Account and Matching
       Cash Account by the Payroll Date Price. The Company will not provide a Matching Contribution
       with respect to such deemed purchases of Common Shares credited to a participant's Sock
       Account, Matching Stock Account or Mandatory Stock Account.

                As of the last business day of each month or such other date as the Committee may
       determine, an amount equal to a participant's balance in the Interest Account on the first business
       day of swh month multiplied by the quarterly Interest Rate. as determined by the Committee.
       will be allocated to such participant's Interest Account. If a participant elects to transfer amounts
       out of his or her Interest Account, credits to such participant's Interest Account shall be prorated
       to r d e c t the number of days such t r a m f e d finds were held in such participant's Interest
       Account.
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   1         At such times as interest or dividends are paid or other distributions made in connection
     with a Mhtual Fwd ('Fund Additions9'j,a determination will be made as to the numbn of unit3
   : (including fractional units) of the Mutual Fund which are credited to a participant's Mutual Fund
   ' Accourht on the interest or other distribution date, and an amount equal to such number of units

     multiplied by the amount of Fund Additions per unit will be credited, on the date such Fund
     Addition is paid or distributed, to such participant's Mutual Fund Account, or other fund
    determined by the Committee. Interest payments or other distributions will be deemed


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        providrd that, such vesting will be subject to forfeiture as set forth in the participant's
        nowcompetition agreement with the Company.
                Forfeiture of Maiching Contributions and Other Amounts. If a participant ceases to be
        employed by RBC, an RBC subsidiary or the Company due to his or her gross or willful
        misconduct during the course of his or her employment, including theft or commission of a gross
        misdemeanor or felony, all k m e d investments credited to any Matching Stock Account or
I
        Matching Cash Account, any Special Defemd Compensation amount, and all Mandatory
        Defared Compensation allocated to a participant's Mandatory Stock Account, will be fotfeited,
        regardless of whether the vesting schedule has otherwise been satisfied with respect to such
        s h a m or assets, and the proceeds thereof will be deemed returned to the Company. Also, all
        amoudts credited to a participant's Matching Stock Account or Matching Cash Account, any


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        Special Deferred Compensation amount. and all Mandatory Deferred Compensation allocated to
        a participant's Mandatory Stock Account, that are not vested at the participant's employment
        termination date wiU be forfeited,        as otherwise described under "Vesting" above.


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                Disfributwns. Upon electing to participate in the Plan, a participnt will also make an
        irrevocable election with respect to the timing of the payment of the amounts credited to such
        participant's accounts. A participant may elect to have such distribution made either (i) upon the
        earlier of a specified date (which date must faU on the last day of a calendar quarter; provided
    :        any distribution shall be made prior to the last day of a calendar quarter if such distribution
        would result in payments to a participant in more than one calendar year) or the date of his or her
        Sepetion if prior tp such specified date, or (ii) upon such Separation.
               Distributions that are made prior to the date on which Matching Contributions,
        Mandatory Deferred Compensation or Special Deferred Compensation are vested will, in
        general, result in the forfeim of such contributions.

                Distributions made pursuant to an Cservice election are made in a single payment if the

        e    1
        electi n is kggered by the date selected by the participant. or in two annual installments if the
                                        h                              n is date certain selected by the
        particent. Such distributions will be made on or about the date selected by the participant if the
        election is triggered by such date, or on or about January 15 of the two Plan years following the



                                                                                                               I
        date of Separation if the election is triggered by the participant's Separation. Upon Separation,
        the first installment shall be equal to 50% of all amounts deemed allocated to a participant's
        accounts on the first payment date, and the second installment shall be qd to the remainder of
        all amounts deemed allocated to such participant's accounts on the second payment date (in each
        case, less any amounts required to be withheld as described under "Tax Withholdingn below).

               Distributions pmuant to an election to receive distributions upon Separation or
                    Retirement will be made to participants in two annual installments on or about
                     of each of the two Plan years following the year of Scpation in the manner
                      the +mg        paragraph; provided, howeve= that a participant shall be entitled to
        change, on a me-time basis only, his or her participant's Separation election with respect to an
        Approved Retirement to extend the number of post-Approved Retirement installment payments
        described above from two annual installments to tbree, four or five annual installments; and
        P m v i e further, that such change in his or h a A p e d Retirement election must be made at
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                least welve (12) months prior to the effective date of such participant's Approved Retirement.
                A participant's failure to make a distribution election will result in a default election to receive a
                distribtkon in two annual installments on or about January 15 of each of the two Plan years
              i following the year of Separation in the manner described in the -ding        paragraph.
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I,                      Distributions following death or disability (as defined in the Plan) shall be made in a
                single payment as soon as administratively feasible after such event.
'
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                        All distributions from the Stock Account. Matching Stock Account and Mandatory Stock
                Aceout will be in the form of Common Shares, less the number of Common Shares equal to the
                amount of tax required to be withheld. All distributions from other accounts will be in cash. All
                Common Shares distxibuted under the Plan, if any, shall be, at RBC's option, Common Shares
                that have been previously issued and that are currently trading in the market, or, subject to the
                approval of the board of directors of RBC and to regulatory approval. a u t h o M but previously
                unissued shares. RBC has filed a Registration Statement on Form S8 with the Securities and
                Exchange Commission covering the deferred compensation obligations under the Plan and the
                Common Shares that may be distributed under the Plan. Diibution from accounts of a Plan
                participant upon such participant's death shall be made to the participant's designated
                beneficiary.

                        Churges and Deductions to Accounts. As of April 1, 2003, Fidelity Investments
 f  !
                becam administrator under the Plan. Fidelity Investments charges the Company an annual
                rec~rd-keepingfee which is apportioned ratably against participants' accounts. Additionally, to
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                offset additional costs incumd by offering mutual fund invesments in the plan, a special
    '           quarterly fee will continue to be deducted from the participant's Mutual Fund Account The
                amount of the special quarterly fee will be determined by multiplying the value of the
                participant's Mutual Fund Account, by a decimal, which is cumntly 0.000625. From time to
                time. the Committee will review, and may change, the record-keeping fee and the quarterly
                mutual fund fee calculation.
                        Plnn Obligor; SIcrtus as Unsecured General Creditors. RBC shall be the Plan Obligor
                for anbunts payable to participants pursuant to distributions from all accounts; provided,
                however, that, except as described in the following sentence, the Company shall be the Plan
                Obligor with respect to the Mandatory Stock Accounts and their related Matching Contributions.
                Notwithstanding the foregoing, RBC shall be the Plan Obligor with respect to all accounts of
                participants who are residents, for tax purposes, in California and Arizona during the Plan year.
                All participants are general, unsecured creditors of the relevant Plan Obligor with respect to
                amounts payable from the accounts described herein.

                        The participants and beneficiaries shall not have any secured or prefnred intaest by way
         '      of  &      escrow, lien or othuwise in any specific assets of RBC, the Company, or any
                particibating subsidiary. If a Plan Obligor, in fact, elects to set aside monies or other assets to
                meet its obligations under the Plan (there being no obligation to do so) through the creation of a
         1/     trust M otherwise, such monks or other assets shall be subject to the claim of its general
                creditors, and neither any participant nor any beneficiary of any participant shall have a legal,
                benetiaial or security interest therein.
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                        Certain Federal Income Tax Consequences Due to the complexity of the applicable
                provisions of the Internal Revenue Code of 1986, as amended (the "Code"), this summary of
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                certain federal income tax consequences only sets forth the general tax principles &cting the
                Plan These general tax principles are subject .to. changes which may be brought about by
                subsequent legislation or by regulations and admmshative rulings, which may be applied on a
                retroactive basis. Participants may be subject to state or bcal income taxes as a result of their
                election to defer compensation pursuant to the Plan and should refer to the applicable laws m
  I
                those jurisdictions,
                          Neither RBC, tbe Company nor any participating subsidiw has obtained a ruling ffom
                   the Internal Revenue Service (the "IRS") regardiig the federal income tax consequences
                   associated with participation in the Plan. Armdingly, each Plan participant should consu*
                   his or her own tax counsel on questions regarding tax liabilities arising upon any election to
 .I                defer compensation pursnant to the Plan and any distributions made to such participant
                   pursuant to the Plan.
                           Plan participants remain general, unsecured creditors of tbe Plan Obligors with respect to
  !                the right to receive any distributions pursuant to the Plan. In addition, the Plan provides that the
  i                election to defer any portion of a participant's compensation is made prior to the performance of
      i'           the personal services for the Company or any participating subsidiary to which the compensation
                   relies. Accordingly, the om^&^ believes that P& pa&ipants are not expected to recognize
  (                either the deferred amounts or the matching contributions as income compensation for federal
                   income tax purposes until such amounts are actually paid or distributed to them under the Plan;
  $
                   provided that, such amounts may still be subject to FICA taxes at the time they would have been
      /            paid but for the participant's d e f m d election. The participants employer will be allowed an
                   income tax deduction in the amount that, ard for its taxable year in which, a Plan participant
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                   rccogaizes compensation income to the extent such amount satisfies the general N ~ concerning
                   dedullbility of rompensa~ion As described above and in .Tax Withholding" below, it is
                                                                                                           S

                   expected that the Company will be required to withhold or otherwise collect inwme and other
      ,I
                   payroll taxes upon such amounts as required under Section3402 and certain other sections of the
                   Code.
       !
                         Tax                   All distributions will be treated as wages for tax purposes md
                 therefbe will be made net of all applicable income, FICA and payroll taxes required to be
                 withdld. In connection with any event that gives rise to a federal or other governmental tax
                 withholding obligation on the part of the Company or any of its subsidides or aftiliates relating
                 to amounts under the Plan (iluding, without limitation, FICA tax), (i) the Company may
                 deduct or withhold (or cause to be deducted or withheld) from any payment or d i i i u t i o n to a
               I participant, whether or not pursuant to the Plan, or (ii) the Committee shall be entitled to r e q h

               I that t& participant remit cash to the Company or any of its subsidiaries or affiliates (through
                 payrob deductions or otherwise), in each case in an mount sufficient in the opinion of the
               i committee to satisfy such withholding obligations.
                     , No Compensation Under the RBC-USA. Retirement andSavings Plan. The Matching
               Cmtributions and any other amounts contn'buted by the Company under this Plan will not
               constitute "Recognized Compensation" for purposes of calculating retirement benefits under the
               RBC-U.S.A. Retirement and Savings Plan, the Company's tax-qualified, retirement benefit plan.
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    II           Voting Rlghls. Accounts under the Plan are bookkeeping accounts and accordingly,
    1    Plan participants will not have any voting rimwith respect to any Common Shares or any units
dl       or other interests in Mutual Funds deemed allocated to any ~ c m u d t .
          Plaa Administrution. The Plan will be administered by the Committee. The Committee
   has the full p o w and authority to make all determinations provided for in the Plan, including
   without limitation promulgating mles to address potential conflicts of interest; provided that, the
   Board of Directors has the full power and authority to make determinations with respect to the

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   Plan having the effect of materially increasing the cost of the Plan u the Company or any
   Mcipating subsidiay. The Plan may be amended m terminated at any time by the Committee
   or the Board of Directors, including, without limitation, (i) to msure that neither the Plan
   Obligors nor the participants are subject to adverse Canadian or United States tax consequences
: and (i$ to modify the form of distribution of participants' accounts. Plan participants will be
I
   responsible for all administrative charges incurred with respect to the Plan to the extent such
   expenses are not paid by the Company, including the costs of outsourced recordkeeping (which
   expenses will be allocated equally among the participants' accounts). If any Plan participant or
   beneficiary of a Plan participant disagrees with any determination that has been made for
! payment under the Plan, a claim may be presented in accordance with procedures set forth in the
 'Plan

!I               Amendmen6 to and Terminatton of Plan. The Plan may be amended or tenninatcd at
         any time by the Committee or the Board of Dmctars, but no such amendment or termination
 .       shall have the effect of (i) reducing the vested portion of amounts already credited to the Stock
         Account, Cash Account, Interest Account, Mutual Fund Account, Matching Stocdc Account,
,        Matching Cash Account or Mandatory Stock Account or (ii) extending the time of diibution of
         such participant's accounts, without the consent of such participant. The Plan will continue in
         effect until so terminated. Upon termination all amounts credited to Participants' amounts and
         not forfeited may be distributed.
                ERISA Matters. Although the Plan is not qualified under Section 401 of the Code, the
         Plan may be an "employee pension benefit plan" as defined by the Employment Retirement
         Income Security Act of 1974, as amended ("ERISAw). However, if the Plan is determined to be
         an "employee pension benefit plan,'' the Company believes that it constitutes an unfunded plan
         of def&md compensation maintained for a select group of management or highly compensated
         employees and, therefore, it is exempted from many ERISA requirements. A statement has been
         filed with the Department of Labor to comply with ERISA reporting and disclosure
         requirements.
                Funding. The Plan does not quire that any deemed investments under this Plan be
         funded by the Company.
                 Reporring. As soon as administratively feasible after each calendar quarter end, the
         Compaaj will pnpan and deliver to each participant a report showing (i) the amounts credited
         to the @artkipant's accounts since the last report from the Company, and (ii) the amounts of any
         distribjtions made since the last report. At its discretion, the Company may prepare and deliver
         more fraquent reports to Plan participants.
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         C.     m f i t i o n Cancemina Investment Altemativg
               As described above, Plan participants will be entitled to determine on an kmual basis
         how their Defened Amounts under the Plan will be credited into accormts deemed invested in
         RBC's Common Shares Interest, or Mutual Funds.
                RBC Stock ZMormation. The annual retum on RBC's Common Shares for each of the
         years m the five-year period ended January31,2003, is set forth below:
                           12-Month
                         Period Ended                       Annual Return on
                          January 3 1                     RBC Gammon Shares (I)
                             2003                                20.1%




,        (I)    Assumes qurnerly reinvestment of all dividends. B a s d on New York Stock Exchange closing prices on
                January 31st
11
                Amualized returns on RBC's Common Shares as compared with annualized retums on
 '       the Toronto Stock Exchange 300 Index and the Staadard & Poor's 500 Index for the five-year
 1       period ended January 31,2003, are set forth below:
                         Annualized Return on               Annualized Return           Annualized Return on
                        RBC Common Shares(])               on TSE 300 Index (2)          S&P 500 Index (3)
           1 Year              20.1 1%                              -
                                                                  10.6%                          -23.W
           5 Year               10.01%                            -2.6%                           -1.3%
         (1)    Retum numbers arc based on the performance of RBC Common Shares on the New York Stock Exchange
                plus dividend reinvernnent.
         (2)    Data provided by Bloomberg. Assumts reinvestment of all dividends.
         (3)    Data provided by Morningstar. Assumes rcinvestmcnt of all dividends.

               Eligible employees are urged to obtain copies of, and to review, the documents
       incoqmmted by reference herein (described under Item E below) which describe RBC's business
       and financial performance. The past performance of RBC's Common Shares is not a
       pamntet of future results. As with nearly any type of investment, a PIan participant's deemed
       investment in RBC's Common Shares could generate little or no return or result in a loss of
     i c8Piiala',
     I
               Interest Account Z~onnafwn.
     !
              A Plan participant's deemed investments in the Interest Account are to earn a rate of
     return that approximates the Company's long term borrowing cost, as determined from time to
      time by the Committee. For 2003, the Interest Rate for the Interest Account will be the London
      Interbank offered Rate (''LIBOR") plus 0.5%. The pro forma annual return on the RBC Dain
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         Rausckr Interest Account (assuming quarterly compounding of interest) for each of the years in
         the five-year period ended March 31,2003, is set forth below:
    1

                              12-Month
                            Period Ended                           Annual Retum on
                             Mmch 31                               Interest Account
                                2003                                      2.3%
                                2002                                       3.8%
                                2001                                       7.2%
                                2000                                       6.2%
                                1999                                       6.Wh
1
:                Pro forma annualized retums on the Interest Account (assuming quarterly compounding
         of interest) for the five-year period ended March 3 1.2003, are set forth below:
                                                                 Annualized Rctum on
                                                                    Interest Rate
                                1 YeaT                                     2.3%
                               5 Year
                               10 Year
                Mutual Fund Informath.

    1!           Effective March 31, 2003, participants can elect to have a partion or all of his or her
         Deferred Amount deemed invested m any of eight mutual h d s , which have been selected by the
         Committee. Additionally, the Committee intends to add additional mutual find options from
    1    time to time. Th Committee may eliminate or rep,= mutual funds fiom time to time. The
         mutual funds currently available and the current asset cldmvestment style they represent, are
         listed below:


    I




    t
                    r           Fund Name
                      American Balanced Fund
                    I U.S.
                      pool Equity Index Commingled
                                                    -.r-
                                                           Asset CIass/Investment Stvle   1
                                                                                          i


                                                      /
                     Van Kampen Cornstock               Large Cap
                     Growth Fund of America             Large cap

                    ,
                     RBC (Cmtura) Mid Cap               Mid Cap                           I
                     FMI Focus
                   ! Wasatch Core Growth
                   j EuroPacific Growth Fund
                                     --
                                                      ! Small Cap
                                                      i Small Cap
                                                      / International &quit~-   ------    I
         The RBC Midcap fund is advised by Voyageur Asset Management, a subsidiary of RBC Dain
         Rallsehcr. None of the other seven mutual funds that are being made available to plan
         participants an aftiliated with RBC or the Company or any of their Sliates.
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     The following descriptions of the mutual funds is derived from and is qualified in its entirety by
     the fuh text of the prospectus for each fund, copies of which are available upon request &om the
i'   Benefits Manager at the address and phone number l i d in the f M -graph                   of this
I!
     prospectus. Although the Company is providing certain information with respect to each fund
     below, neither RBC nor the Company expresses any opinion as to the a - y                      and
 i   completeness of such information, and RBC and the Company expressly disclaim any liability
 :   for any inaccuracies or misrepresentations with respect to each fund contained herein. Plan
     participants are urged to review carefully the prospectuses for the mutual funds and to make any
     inquiries they feel necessary prior to making their decisions about deemed investments in these
 ]   mutual funds.
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           Mutual Fund Znfomrotion          - Fund Desc~&~tlons
                                                  . .                                                                     ..
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                                                                                        .
                                                                                        '                      7%.,,:,.

              I Small Cap Mutual Fund     I S e t h to provide long-term 1 The fund invests in mull to mid-cap companies
                                                                          that have substantial capital growth potential.
                                                                          These companies frequently have little or no
                                                                          following by the major nock brokerage firms. The
                                                                          fund looks for stocks of businesses that are selling
                                                                          at what management believes am substantial
                                                                          discounts to pricesthat accurately rtncct their
                                                                          future earnings prospects. 7he fund's managemml
                                                                          takes a "focused" approach to investing, meaning
                                                                          the fund may fmm timcto time invart in a limited
                                                                          number of securities andlor industries, and its top
                                                                          ten holdings may constitute 50Ya or more of the
                                                                          h d ' s assets. Stocks of small wmpanies may l a d
                                                                          the financial resources. product diversification and
                                                                          competitive strengths of larger companiss.

                Small Cap Mutual Fund        Seeks to provide long-tam    The h n d invests primarily in the common stocks 0
                                             capilal growth               growing conpanies. ~ h c s wmpanies
                                                                                                         e           arc usudly
                                                                          small to mid-sized with market capitalizations of
                                                                          less than $5 billion at the time of initial purchase.
                                                                          The fund's management uses a "botloms up"
                                                                          fundammhl analysis to look for companies chat th
                                                                          fund's management believes are stableand have th
                                                                          potential to grow steadily for long periods of time.
                                                                          St& of small companies may lack the financial
                                                                          resources, product diversification and competitive
                                                                          strengths of larger companies.

                International Mutual Fund    To increase the value of     The fund invests primarily in stacks ofcompanies
                                             your investment over the     that do most of their business outside the United
                                             long term through capital    States. Normally, at least 65% of the fund's assets
                                             g m d                        will be invested in securities ofcompanies from
                                                                          Europe or the Pacific Basin. The fund can invest ir
                                                                          many types of companies. ranging from large
                                                                          multinational corpantions located in major world
                                                                          markets. b smaller companies located in
                                                                          developingcountries. Developing (or emaging
                                                                          market) countries may be subject to rnm frequent
                                                                          and greater price changes than rscuritier of more
                                                                          developed countries. Foreign investments,
                                                                         especially in developing cwntria, involve greater
                                                                          risk and may offer grutcr potential returns than
                                                                         U.S.invesbnents. These risks include political and
                                                                         economic uncertainties of foreign countries, as well
                                                                         as the risk of foreign currency fluctuatiom. T h a e
                                                                         are additional risks associated with funds that
                                                                         concentnte their investments in onegeographic
                                                                         area.
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1I! I
'j
                 !Historical Fund Performance. The annual return for each of the years in the five-year
         p d o d ended December 31 and for the fua quarter of 2003, is set forth below:




     !
     I           (I) Morningstardata as of3-31-03,
                 (2) Fidelity data is of3-31-03.

         Annualized returns on the mutual fund options, as compared to annualized returns on the
         Standard Bt Poor's 500 Index, the Russell 2000 Small Cap Index, and the MSCI World Index for
         the period ended March 3 1,2003, are set forth below:
     !




                   The past performances of all these mutual funds are not guarantees of future
           resulta. As with any mutual fund investment, a Plan participant's deemed investment in
               til
         1 these 4 s could generate little or no return or result m a loss of principal.
         I
           D.     gesale Restrictions
               Participants who are "affiliates" under the Securities Act of 1933, as amended (the "1933

                x RBC at the time they receive distributiom under the Plan in the form of Common
         Shares '11, in order to resell such shares, be required eilba to observe the resale limitations of
         Act'"
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   Rule 144 of the 1933 Act or offer their shares for resale pursuant to another applicable

         P
   exemp 'on from regjstration under the 1933 Act An "d~liate"of a company is defined under
   Rule 144(a)(l) of the 1933 Act as any person that directly, or indirectly through one or more
   intediar ies, controls, or is controlled by, or is under control with, such company. The
   Company is under no obligation to file a reoffer prospectus on behalf of any Plan participmt.
   Participants who are not affiliates at the time they receive distributions under the Plan in the form
   of Common Shares are expected to receive freely tradable shares.
   E      Documents Incornrated bv Reference
          The following documents, which have been filed by RBC wiih the Securities and
   Exchange Commission (the "Commission"), are incorporated by reference herein, as of their
   respective dates;
          (a) RBCs Annual Report on Form 40-F for the fiscal year ended October 31,2001, filed
          with the Commission on January 17,2002 and December 27,2002;

          (b) RBC's Reports on Form 6-Kdated November 29,2001, January 17,2002, June I,
          2002, June 30,2002. August 23,2002, January 1,2003 and March 14,2003,
           (c) The description of capital stock contained in any Registration Statement or report
           filed under the Securities Exchange Act of 1934, as amended (the "Exchange Act"),
           including my amendment or report filed for the purpose of updating such description.
           All documents filed by RBC pursuant to Sections 13(a). 13(c). 14 and 15(d) of the
   Exchange Act, subsequent to the date hereof and prior to the filing of a post-effective
   amendment which indicates that all securities offered hereby have been sold or which deregisters
   all securities then maining unsold, shall be deemed to be incorporated by refcrence herein and
   to be a part hereof from the respective dates of filing of such documents.
          In addition to the Plan prospectus, RBC or tfe Company will provide without charge to
   each person to whom a copy of this document has been delivered, on the written or oral request
   of such person, a copy of any or all of the following:
                 (a) the documents referred to above, excluding exhibits thereto, which have been
          or may be incorporated by reference herein,
                  (b) RBC's annual report to shareholders for the last fiscal year, and
                 (c) any report, proxy statement or other wmmunication distributed to RBC's
          shareholders.
              uests for such copies should be directed to hvestor Relations Department, Royal
                    by writing to 123 Front Street West,6th Floor, Toronto, Ontario, Canada, M5J
                      (416) 955-7802, or by visiting royal~com/investorrelation.
